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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                         )
                                                  )
                       Plaintiff,                 )
                                                  )
                vs.                               )                 8:05CR94
                                                  )
VICENTE PADILLA-NAVARRO,                          )                  ORDER
                                                  )
                       Defendant.                 )




         Before the court is the Motion for Leave to Join Motion to Suppress Wiretap Evidence
[72] filed by defendant Vincente Padilla-Navarro. The government does not object to the
joinder.

         IT IS ORDERED:

         1.     That defendant Vincente Padilla-Navarro’s Motion for Leave to Join Motion to
                Suppress Wiretap Evidence [72] is granted;

         2.     The defendant shall participate in the evidentiary hearing on the Motion to
                Suppress Wiretap Evidence [66] currently scheduled for August 12, 2005 at
                9:00 a.m. before Judge F.A. Gossett, Courtroom No. 6, Second Floor, Roman L.
                Hruska U.S. Courthouse, 111 So. 18th Plaza, Omaha, Nebraska.

         Since this is a criminal case, the defendant must be present, unless excused by the
Court.

         DATED this 1st day of August, 2005.

                                               BY THE COURT:


                                               s/ F.A. Gossett
                                               United States Magistrate Judge
